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        During national news coverage of the aforementioned events, video footage which
appeared to be captured on mobile devices of persons present on the scene depicted evidence of
violations of local and federal law, including scores of individuals inside the U.S. Capitol building
without authority to be there.

                              FACTS SPECIFIC TO HAMILTON

       On January 9, 2021, a tip submitted to the FBI alleged that Facebook user “Zee Hamilton”
was inside the U.S. Capitol on January 6, 2021. Based on information obtained through the public
Facebook account of “Zee Hamilton,” further investigation identified the individual “Zee
Hamilton” to be ZYLAS HAMILTON, from Chattanooga, Tennessee.

        The tip contained a screenshot of a Facebook thread between HAMILTON and a Facebook
user in which HAMILTON makes comments about his participation in the riots at the U.S. Capitol
on January 6, 2021. (See Image 1.) HAMILTON wrote, “I was in the capital building.” He also
wrote, “I’m safe after being maced, tear gassed and shot with a rubber bullet in the shoulder. We
got in and made our statement.” When another Facebook user asked HAMILTON, “why’d they
gas u and stuff!?!” he responded, “because we rushed them.”




                                              Image 1

        HAMILTON also posted a photo of himself inside the Capitol with the caption, “Fight for
your country folks…we took our capital back today” (Image 2) as well as another post stating he
was in the “capital building” (Image 3).
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                                          Images 2 and 3

        HAMILTON also filmed Facebook Live video footage of himself inside the U.S. Capitol
on January 6, 2021, but later removed the footage from his Facebook profile. An identified
complainant observed the video, captured the footage prior to it being deleted from Facebook, and
provided it to the FBI. The footage shows the crowds moving through the U.S. Capitol building in
front of the individual filming. The individual filming then turns the camera around to film himself.
It shows HAMILTON, who is wearing a mask over his nose and mouth and a green hat with an
orange logo. Screenshots from the video are below. (Images 4 and 5).
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                                       (Images 4 and 5)

       According to records obtained through a search warrant served on AT&T, the cellphone
associated with (***) ***-3256 was identified as having utilized a cell site consistent with
providing service to the geographical area that includes the interior of the Capitol building on
January 6, 2021. AT&T records show this telephone number as being associated with
HAMILTON.

        Additionally, Capitol CCTV videos show HAMILTON at various locations inside the U.S.
Capitol on January 6, 2021. The CCTV videos and screen captures show HAMILTON entering
the Capitol at approximately 2:22 p.m. through the Senate Wing Doors and proceeding to the
Crypt. (Images 6, 7, and 8).
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       •   HAMILTON: I'll die or do 20 years before my kids grow up in the country these people
           are trying to creat
       •   C.C.: I understand that
       •   C.C.: Hey if anyone contacts you picks you up or anything dont say a word accept that
           you want your
       •   C.C: I think I hes gonna call
       •   HAMILTON: Ok thank you
       •   C.C.: Your welcome

       In a Facebook post responding to multiple commenters on or about January 7, 2021, the
day following January 6, 2021 riot or shortly thereafter, HAMILTON posted the following
comments:

       •   “I was there to. Upfront at the scaffolding. They shot at random times for no reason. I
           was shot and I was just standing still minding my business watching everything
           unfold”,

       •   “No.... we showed America that it doesn’t have to deal with a treasonous government.
           Stand up for what you believe in man. It’s important. Just don’t do it to a mf like me in
           person”

       •   “it’s actually working out really great. It allows people like you to shit on this country
           with your “opinion” and not get hung up for treason.”

       On or about January 8, 2021, HAMILTON had the following Facebook conversation with
“H.C.”:

       •   H.C.: You was in D.C when all this shit happen right?
       •   HAMILTON: Yes
       •   H.C.: Was it trump supporters who destroyed the capital? Or someone else that made
           it look like them?
       •   HAMILTON: Both
       •   HAMILTON: But honestly... a window was broken. We could have burnt that place to
           the ground
       •   H.C.: My retarded ass sister thinks it was allll trump supporters and that he had it
           planned to destroy the capital so he could stay.
       •   HAMILTON: Neh... that storm of the Capitol was about the bs that conservatives have
           put up with for 4 fucking years...
       •   HAMILTON: He didn’t promote the violence or condone it. We made that decision
           ourselves

      On or about January 8, 2021, and January 9, 2021, HAMILTON had the following
Facebook conversation with “K.C.F.”:

       •   K.C.F.: Did u get in trouble for being there
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       •   HAMILTON: Not yet
       •   K.C.F.: Moma said that’s why u deleted that video cuz they were getting ppl. I don’t
           watch the news so I didn’t know. Lol. Maybe u won’t.
       •   HAMILTON: Not unless somebody tells on me
       •   K.C.F.: Surely they won’t.
       •   HAMILTON: We’ll see lol

       On or about January 12, 2021, HAMILTON had the following conversation with “S.W.”
on Facebook:

       •   S.W.: Hey... Just checking in on you. I hope you deleted those videos from the 6th.
       •   HAMILTON: I did awhile back
       •   HAMILTON: Everything is ok. Just waiting on the feds to come get me
       •   S.W.: Did you have your face covered the whole time?

        Based on the foregoing, your affiant submits that there is probable cause to believe that
ZYLAS HAMILTON violated 18 U.S.C. § 1752(a)(1) and (2), which makes it a crime to (1)
knowingly enter or remain in any restricted building or grounds without lawful authority to do;
and (2) knowingly, and with intent to impede or disrupt the orderly conduct of Government
business or official functions, engage in disorderly or disruptive conduct in, or within such
proximity to, any restricted building or grounds when, or so that, such conduct, in fact, impedes or
disrupts the orderly conduct of Government business or official functions; or attempts or conspires
to do so. For purposes of Section 1752 of Title 18, a “restricted building” includes a posted,
cordoned off, or otherwise restricted area of a building or grounds where the President or other
person protected by the Secret Service, including the Vice President, is or will be temporarily
visiting; or any building or grounds so restricted in conjunction with an event designated as a
special event of national significance.

        Your affiant submits there is also probable cause to believe that ZYLAS HAMILTON
violated 40 U.S.C. § 5104(e)(2)(D) and (G), which makes it a crime to willfully and knowingly
(D) utter loud, threatening, or abusive language, or engage in disorderly or disruptive conduct, at
any place in the Grounds or in any of the Capitol Buildings with the intent to impede, disrupt, or
disturb the orderly conduct of a session of Congress or either House of Congress, or the orderly
conduct in that building of a hearing before, or any deliberations of, a committee of Congress or
either House of Congress; and (G) parade, demonstrate, or picket in any of the Capitol Buildings.



                                                                           ________________

                                                     Special Agent
                                                     Federal Bureau of Investigation

Attested to by the applicant in accordance with the requirements of Fed. R. Crim. P. 4.1 by
telephone, this 10th day of January 2024.
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                                  ROBIN M. MERIWEATHER
                                  U.S. MAGISTRATE JUDGE
